Case 4:06-mc-00100 Document 1 Filed on 03/08/06 in TXSD Page 1 of 3

AO 240 (Rev. 6/86) Application to Proceed @

United States District Court

    

 

 

 

 

 

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Chovles CasTon) APPLICATION TO PROCEED IN *.
FORMA PAUPERIS, SUPPORTING
V. DOCUMENTATION: ANDORN NVORDER
ue . — SO} THER * ‘,
Martin King Jit CASE NUMBER: UTHERN DISTR ICT OF TEXAS °
ET. AL, MAR - 8 2006
SORE fw by Ir “
Chavies Castor declare that { am the (check soplone Dyer T
{Y petitioner/plaintiff 0 movant (filing 28 U.S.C. 2255 motion)
(J respondent/defendant O
other

in the above-entitled proceeding; that, in support of my request to proceed without being
required to prepay fees, cost or give security therefor, | state that because of my poverty, |
am unable to pay the costs of said proceeding or give security therefor; that | believe | am
entitled to relief. The nature of my action, defense, or other proceeding or the issues | intend
to Present on appeal are briefly stated as follows: |

In further support of this application, | answer the following questions.

1. Are you presently employed? Yes (J No Mi

a. If the answer is “yes,” state the amount of your salary or wages per month, and
give the name and address of your employer. (list both gross and net salary)

b. If the answer is “no,” state the date of last employment and the amount of the
salary and wages per month which you received.

4-200 Goodwill $1802 aw bouk

2. Have you received within the past twelve months any money from any of the follow-
ing sources?

a. Business, profession or other form of self-employment Yes—]) No er
b. Rent payments, interest or dividends? Yess) No
c. Pensions, annuities or life insurance payments? Yes] Nofq
d. Gifts or inheritances? Yes No cy
e. Any other sources? YesfT No]

 

 

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If the answer to any of the above is “‘yes,’’ describe each source of money and state the
amount received from each during the past twelve months.

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Coca | Secunity

- 3. Do you own any cash, or do you have money in checking or savings accounts?
Yes No] (Include any funds in prison accounts.)
If the answer is “yes,” state the total value of the items owned.

4 200,00

4. Do you own or have any interest in any real estate, stocks, bonds, notes, —
automobiles or other valuable property (excluding ordinary household furnishings
and clothing)?

Yes [J No
If the answer is ‘yes,’ describe the property and state its approximate value.

|

5. List the persons who are dependent upon you for support, state your relationship to
those persons, and indicate how much you contribute toward their, support.

! declare under penalty of perjury that the foregoing is true and correct.

/ Executed on _5 ~ 8-06 Cw Doe GHD

(Date) Signature of Applicant
\

 

 

 

CERTIFICATE
(Prisoner Accounts Only)

 

1 certify that the applicant named herein has the sum of $
on account to his credit at the

institution where he is confined. | further certify that the applicant likewise has the following securities to
his credit according to the records of said institution:

 

 

 

 

 

! further certify that during the last six months the applicant's average balance was $

 

+ Authorized Officer of Institution

. ORDER OF COURT

 

The application is hereby granted. Let the
applicant proceed without prepayment of

 

 

The. application is hereby denied cost or fees or the necessity of giving secur-
“ye ity therefor.
|
United States Judge Date United States Judge Date

or Magistrate

 

 

 
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